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                        EXHIBIT B
                                                                                                                                     Case 1:02-cv-06977-GBD-SN                               Document 2181-1                    Filed 10/09/24                  Page 2 of 3
Exhibit B - Personal Representatives of the Estates of U.S. Nationals with Prior Judgments (Economic loss)                                                                             ATA (18 U.S.C. sec. 2333), common law




                    Personal Representative                                                                  9/11 Decedent                                                        Claim Information                                       Pain & Suffering Damages                                          Economic Damages

                                                                                                                               Nationality on   Date of                                             Amendments &                                                                          Date of
           First      Middle              Last       Suffix             First           Middle             Last       Suffix                             9/11 Site       Case      Complaint                             Prior Award               Amount            Treble      Report                 Prior Award         Amount              Treble                       Notes
                                                                                                                                   9/11         Death                                                Substitutions                                                                        Report
   1 Lorraine                   Abad                            Edelmiro                           Abad                        US                9/11/01 NY          02cv06977   1463 at 31                              3226 at 5              $ 2,000,000.00 $ 6,000,000.00   5537-6       1/1/20 5881-2 at 2, 5926   $      2,889,133.00 $   8,667,399.00
                                                                                                                                                                                 8715-1 at 4,
   2 Sirak                      Betru                           Yeneneh                            Betru                       US                9/11/01 VA          02cv06977   8721                                    8245 at 4 at 4         $ 2,000,000.00 $ 6,000,000.00   7979         1/1/20 8245 at 4           $      7,957,672.00 $ 23,873,016.00
   3 Arlene                     Beyer                           Paul             M.                Beyer                       US                9/11/01 NY          02cv06977   1463 at 62                              3226 at 8              $ 2,000,000.00 $ 6,000,000.00   9980-5       7/1/24 10266 at 5          $      4,166,944.00 $ 12,500,832.00
                                                                                                                                                                                 8715-1 at 5,
   4 David                      Burford                         Christopher                        Burford                     US                9/11/01 VA          02cv06977   8721                                    8245 at 4              $ 2,000,000.00 $ 6,000,000.00   7979         1/1/18 8245 at 4           $      1,119,928.00 $   3,359,784.00
                                                                                                                                                                                                                         3226 at 5; 8275-1 at
   5 Susan                      Calcagno                        Philip           V.                Calcagno                    US                9/11/01 NY          02cv06977   1463 at 32                              3, 8973                $ 2,000,000.00 $ 6,000,000.00   9680-14      3/1/23 10292 at 5          $      1,392,669.00 $   4,178,007.00
                                                                                                                                                                                                                         3226 at 5; 8275-1 at
   6 Geraldine                  Cefalu                          Jason                              Cefalu                      US                9/11/01 NY          02cv06977   1463 at 33                              3, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-6       7/1/24 10266 at 5          $      5,228,921.00 $ 15,686,763.00
                                                                                                                                                                                                                         3226 at 5; 8275-1 at
   7 Regina                     Gans                            Eugene                             Clark                       US                9/11/01 NY          02cv06977   1463 at 33      8246 at 4, 8251         3, 8973                $ 2,000,000.00 $ 6,000,000.00   9680-15      3/1/23 10292 at 5          $       231,154.00 $     693,462.00
                                                                                                                                                                                                                         3226 at 5; 8275-1 at                                                                                                                  Personal Representative is listed
   8 Felicia                    Corbett Jones                   Joseph                             Corbett                     US                9/11/01 NY          02cv06977   1463 at 33                              3, 8973                $ 2,000,000.00 $ 6,000,000.00   9680-9       3/1/23 10292 at 5          $      4,110,201.00 $ 12,330,603.00    as Felicia Corbett in 1463 at 33
                                                                                                                                                                                                                         3226 at 8; 8275-1 at
   9 Susan                      Correa                          Ruben            D.                Correa                      US                9/11/01 NY          02cv06977   1463 at 62                              4, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-4       7/1/24 10266 at 5          $      3,492,642.00 $ 10,477,926.00
                                                                                                                                                                                                                         3226 at 8; 8275-1 at
 10 Christopher                 Della Pietra                    Joseph                             Della Pietra                US                9/11/01 NY          02cv06977   1463 at 57                              4, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-21      7/1/24 10266 at 5          $      4,650,502.00 $ 13,951,506.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 11 Brooke                      Deming                          Francis          X.                Deming                      US                9/11/01 NY          02cv06977   1463 at 35                              4, 8973                $ 2,000,000.00 $ 6,000,000.00   9680-16      3/1/23 10292 at 5          $      5,983,851.00 $ 17,951,553.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 12 Frank                       Distefano                       Douglas                            Distefano                   US                9/11/01 NY          02cv06977   1463 at 35                              4, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-24      7/1/24 10266 at 5          $      3,018,031.00 $   9,054,093.00
                                                                                                                                                                                                                         3226 at 5; 8275-1 at                                                                                                                  Decedent is listed as Lynn Angell
 13 Perry                       Oretzky                         Mary             Lynn              Edwards Angell              US                9/11/01 NY          02cv06977   1463 at 30                              4, 8973                $ 2,000,000.00 $ 6,000,000.00   9680-12      4/1/23 10292 at 5          $      1,998,157.00 $   5,994,471.00   in 1463 at 30 and 3226 at 5
                                                                                                                                                                                                                         3226 at 2; 8275-1 at
 14 Kurt                        Foster                          Claudia                            Foster                      US                9/11/01 NY          02cv06977   1463 at 8                               5, 8973                $ 2,000,000.00 $ 6,000,000.00   9941-3       7/1/24 10292 at 6          $      5,072,471.00 $ 15,217,413.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 15 Jeanine                     Frazier                         Clyde                              Frazier          Jr.        US                9/11/01 NY          02cv06977   1463 at 36                              5, 8973                $ 2,000,000.00 $ 6,000,000.00   9680-3       3/1/23 10292 at 5          $      1,769,922.00 $   5,309,766.00
                                                                                                                                                                                 8715-1 at 12,
 16 Michelle                    Fredericks                      Andrew                             Fredericks                  US                9/11/01 NY          02cv06977   8721                                    8245 at 4              $ 2,000,000.00 $ 6,000,000.00   7979         1/1/18 8245 at 4           $      8,063,072.00 $ 24,189,216.00
 17 Elisabet                    Gardner                         William          A.                Gardner                     US                9/11/01 NY          02cv06977   1463 at 57                              3226 at 8              $ 2,000,000.00 $ 6,000,000.00   9980-1       7/1/24 10266 at 5          $      1,889,445.00 $ 5,668,335.00
                                                                                                                                                                                                                                                                                                                                                               the Personal Representative also
                                                                                                                                                                                                                         8275-1 at 5, 8973;                                                                                                                    appears as Jill Gartenberg in 1463
 18 Jill             A.         Gartenberg Pila                 James                              Gartenberg                  US                9/11/01 NY          02cv06977   1463 at 36                              3226 at 6            $ 2,000,000.00 $ 6,000,000.00     8850-4      11/1/22 9159 at 3           $      6,985,826.00 $ 20,957,478.00    at 36
                                                                                                                                                                                                                         3226 at 3; 8275-1 at
 19 Meg                         Bloom                           Thomas                             Glasser                     US                9/11/01 NY          02cv06977   1463 at 10                              5, 8973              $ 2,000,000.00 $ 6,000,000.00     9680-17      3/1/23 10292 at 5          $   14,494,168.00 $ 43,482,504.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 20 Carol                       Haran                           James                              Haran                       US                9/11/01 NY          02cv06977   1463 at 37                              6, 8973              $ 2,000,000.00 $ 6,000,000.00     9980-11      7/1/24 10266 at 5          $      3,951,307.00 $ 11,853,921.00
                                                                                                                                                                                 8715-1 at 15,
 21 Margaret                    Harrell                         Stephen          G.                Harrell                     US                9/11/01 NY          02cv06977   8721                                    8245 at 4              $ 2,000,000.00 $ 6,000,000.00   7979         1/1/18 8245 at 4           $      4,691,786.00 $ 14,075,358.00
 22 Delores                     Legree                          Anthony                            Hawkins                     US                9/11/01 NY          02cv06977   1463 at 39                              3226 at 6              $ 2,000,000.00 $ 6,000,000.00   9980-8       7/1/24 10266 at 5          $      1,546,715.00 $ 4,640,145.00
 23 Donna                       Hickey                          Brian            C.                Hickey                      US                9/11/01 NY          02cv06977   1463 at 62                              3226 at 8              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 24 Allison                     Hobbs                           Thomas           A.                Hobbs                       US                9/11/01 NY          02cv06977   1463 at 37                              6, 8973                $ 2,000,000.00 $ 6,000,000.00   9680-11      8/1/23 10292 at 5          $      3,137,796.00 $   9,413,388.00
                                                                                                                                                                                                                                                                                                                                                               Decedent's and Personal
                                                                                                                                                                                                                         3226 at 8; 8275-1 at                                                                                                                  Representative's last name is
 25 Joy                         Johnston                        William                            Johnston         Jr.        US                9/11/01 NY          02cv06977   1463 at 63                              6, 8973              $ 2,000,000.00 $ 6,000,000.00     9980-3       7/1/24 10266 at 5          $      1,765,639.00 $   5,296,917.00   listed as Johnson on 1463 at 63
                                                                                                                                                                                                                         3226 at 8; 8275-1 at
 26 Maureen                     Kennedy                         Robert           C.                Kennedy                     US                9/11/01 NY          02cv06977   1463 at 58                              6, 8973              $ 2,000,000.00 $ 6,000,000.00     9680-4       3/1/23 10292 at 5          $      1,450,312.00 $   4,350,936.00
                                                                                                                                                                                                                                                                                                                                                               Decedent's last name is listed as
 27 Arsen                       Kolpakov                        Irina                              Kolpakova                   US                9/11/01 NY          02cv06977   1463 at 50                              3226 at 7              $ 2,000,000.00 $ 6,000,000.00   9980-16      7/1/24 10266 at 5          $      2,184,186.00 $ 6,552,558.00     Kolpakov on 3226 at 7
 28 Yun Yu                      Zheng                           Raymond          Kui Fai           Kwok                        US                9/11/01 NY          02cv06977   1463 at 55                              3226 at 8              $ 2,000,000.00 $ 6,000,000.00   9980-10      7/1/24 10266 at 5          $      3,655,918.00 $ 10,967,754.00
 29 Kimberly                    LaMantia                        Stephen                            LaMantia                    US                9/11/01 NY          02cv06977   1463 at 58                              3226 at 8              $ 2,000,000.00 $ 6,000,000.00   9680-8       4/1/23 10292 at 5          $      9,465,390.00 $ 28,396,170.00
                                                                                                                                                                                                                         3226 at 8; 8275-1 at
 30 Christy                     Ferer                           Neil             D.                Levin                       US                9/11/01 NY          02cv06977   1463 at 61                              7, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-7       7/1/24 10266 at 5          $   10,476,126.00 $ 31,428,378.00
                                                                                                                                                                                                                         3226 at 8; 8275-1 at
 31 Enrica                      Naccarato                       Lorraine                           Lisi                        US                9/11/01 NY          02cv06977   1463 at 41                              7, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-9       7/1/24 10266 at 5          $      2,427,782.00 $   7,283,346.00
                                                                                                                                                                                                                         3226 at 5; 8275-1 at
 32 Yvonne                      Ramirez                         Linda            C.                Mair Grayling               US                9/11/01 NY          02cv06977   1463 at 30                              7, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-18      7/1/24 10266 at 5          $      1,562,132.00 $   4,686,396.00
                                                                                                                                                                                 8715-1 at 21,
 33 Otelio                      Maldonado          Jr.          Debora                             Maldonado                   US                9/11/01 NY          02cv06977   8721                                    8245 at 4              $ 2,000,000.00 $ 6,000,000.00   7979         1/1/18 8245 at 4           $      1,762,570.00 $   5,287,710.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 34 Susan                       McDermott                       Matthew          T.                McDermott                   US                9/11/01 NY          02cv06977   1463 at 40                              7, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-2       7/1/24 10266 at 5          $   28,132,860.00 $ 84,398,580.00
                                                                                                                                                                                                                         3226 at 7; 8275-1 at
 35 Richard          A.         Pitino                          William          G.                Minardi                     US                9/11/01 NY          02cv06977   1463 at 48                              8, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-23      7/1/24 10266 at 5          $   15,829,586.00 $ 47,488,758.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 36 Diane                       Monahan                         John             G.                Monahan                     US                9/11/01 NY          02cv06977   1463 at 40                              8, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-17      7/1/24 10266 at 5          $      2,141,695.00 $   6,425,085.00
 37 Saradha                     Moorthy                         Krishna                            Moorthy                     US                9/11/01 NY          02cv06977   1463 at 18                              3226 at 4              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                                         3226 at 6; 8275-1 at
 38 Nancy                       Moroney                         Dennis                             Moroney                     US                9/11/01 NY          02cv06977   1463 at 41                              8, 8973                $ 2,000,000.00 $ 6,000,000.00   9980-14      7/1/24 10266 at 5          $   12,095,705.00 $ 36,287,115.00




                                                                                                                                                                                                      Page 1 of 2
                                                                                                                                     Case 1:02-cv-06977-GBD-SN                              Document 2181-1                      Filed 10/09/24                    Page 3 of 3
Exhibit B - Personal Representatives of the Estates of U.S. Nationals with Prior Judgments (Economic loss)                                                                               ATA (18 U.S.C. sec. 2333), common law




                    Personal Representative                                                                   9/11 Decedent                                                         Claim Information                                     Pain & Suffering Damages                                              Economic Damages

                                                                                                                                Nationality on   Date of                                              Amendments &                                                                            Date of
           First          Middle             Last       Suffix           First        Middle                Last       Suffix                              9/11 Site       Case      Complaint                             Prior Award               Amount            Treble        Report                 Prior Award         Amount              Treble                       Notes
                                                                                                                                    9/11         Death                                                 Substitutions                                                                          Report
                                                                                                                                                                                                                           3226 at 6; 8275-1 at
 39 Elizabeth                      Murphy                        Charles         A.                Murphy                       US                9/11/01 NY           02cv06977   1463 at 41                              8, 8973                $ 2,000,000.00 $ 6,000,000.00     9980-22      7/1/24 10266 at 5          $      5,408,230.00 $ 16,224,690.00
                                                                                                                                                                                                                           8275-1 at 8, 8973;
 40 Evelyn                         Tepedino                      Jody            Tepedino          Nichilo                      US                9/11/01 NY           02cv06977   1463 at 24                              3226 at 4              $ 2,000,000.00 $ 6,000,000.00     8850-4       2/1/23 9159 at 3           $      1,523,998.00 $   4,571,994.00
                                                                                                                                                                                                                           3226 at 3; 8275-1 at
 41 Jason                          Seymour                       Jacqueline                        Norton                       US                9/11/01 NY           02cv06977   1463 at 15      8246 at 4, 8251         8, 8973                $ 2,000,000.00 $ 6,000,000.00     9680-18      3/1/23 10292 at 5          $      3,657,628.00 $ 10,972,884.00
                                                                                                                                                                                                                           3226 at 3; 8275-1 at
 42 Jason                          Seymour                       Robert          G.                Norton                       US                9/11/01 NY           02cv06977   1463 at 15      8246 at 4, 8251         8, 8973                $ 2,000,000.00 $ 6,000,000.00     9680-19      3/1/23 10292 at 5          $       519,673.00 $    1,559,019.00
                                                                                                                                                                                   8715-1 at 20,
 43 Barbara                        Lynch                         Robert          W.                O'Shea                       US                9/11/01 NY           02cv06977   8721                                    8245 at 4              $ 2,000,000.00   $ 6,000,000.00   7979         1/1/18 8245 at 4           $   10,198,400.00   $ 30,595,200.00
 44 Feliciana                      Umanzor                       Elsy            C.                Osorio                       US                9/11/01 NY           02cv06977   1463 at 25                              3226 at 4              $ 2,000,000.00   $ 6,000,000.00   5537-6       1/1/18 5881-2 at 2, 5926   $    3,895,775.00   $ 11,687,325.00
 45 Joanna                         Ostrowski                     James                             Ostrowski                    US                9/11/01 NY           02cv06977   1463 at 42                              3226 at 6              $ 2,000,000.00   $ 6,000,000.00   9680-20      8/1/23 10292 at 5          $    3,196,906.00   $ 9,590,718.00
 46 Sampath                        Pakkala                       Deepa                             Pakkala                      US                9/11/01 NY           02cv06977   1463 at 59                              3226 at 8              $ 2,000,000.00   $ 6,000,000.00   9980-12      7/1/24 10266 at 5          $    4,916,372.00   $ 14,749,116.00
                                                                                                                                                                                                                           3226 at 4; 8275-1 at
 47 Donna                          Paolillo                      John                              Paolillo                     US                9/11/01 NY           02cv06977   1463 at 19                              9, 8973                $ 2,000,000.00 $ 6,000,000.00     9980-20      7/1/24 10266 at 5          $      3,489,218.00 $ 10,467,654.00
                                                                                                                                                                                                                                                                                                                                                                   Personal Representative, Mary's
                                                                                                                                                                                                                                                                                                                                                                   last name is spelt as Machinski in
    Joseph and                     Machcinski (Mary                                                                                                                                                                        8275-1 at 9, 8973;                                                                                                                      ECF 8246 and Machinski in ECF
 48 Mary                           & Joseph (Pfeifer)            Kevin                             Pfeifer                      US                9/11/01 NY           02cv06977   1463 at 54      8246 at 4, 8251         3226 at 8              $ 2,000,000.00 $ 6,000,000.00     8850-4     11/1/22 9159 at 3            $      1,635,247.00 $   4,905,741.00   1402 in 02cv06977
                                                                                                                                                                                                                           3226 at 8; 8275-1 at
 49 Theresa                        Regan                         Donald          J.                Regan                        US                9/11/01 NY           02cv06977   1463 at 54                              9, 8973                $ 2,000,000.00 $ 6,000,000.00     9680-13      3/1/23 10292 at 5          $      3,003,752.00 $   9,011,256.00
                                                                                                                                                                                                                           3226 at 8; 8275-1 at
 50 Jennifer                       Reilly                        Kevin           O.                Reilly                       US                9/11/01 NY           02cv06977   1463 at 63                              9, 8973                $ 2,000,000.00 $ 6,000,000.00     10002-1      7/1/24 10266 at 5          $      6,479,294.00 $ 19,437,882.00
                                                                                                                                                                                                                           3226 at 5; 8275-1 at
 51 Rodney                         Callum                        Michell         L.                Robotham                     US                9/11/01 NY           02cv06977   1463 at 28                              9, 8973                $ 2,000,000.00 $ 6,000,000.00     9680-21      3/1/23 10292 at 5          $      4,088,242.00 $ 12,264,726.00
                                   Rosenzweig                                                                                                                                                                              3226 at 7; 8275-1 at
 52 Lauren                         Morton                        Phillip                           Rosenzweig                   US                9/11/01 NY           02cv06977   1463 at 52                              9, 8973                $ 2,000,000.00 $ 6,000,000.00     9680-6       3/1/23 10292 at 5          $   10,973,377.00 $ 32,920,131.00
 53 Jyothi           J.            Shah                          Jayesh                            Shah                         US                9/11/01 NY           02cv06977   1463 at 45                              3226 at 7              $ 2,000,000.00 $ 6,000,000.00     9980-15      7/1/24 10266 at 5          $    6,789,309.00 $ 20,367,927.00

                                                                                                                                                                                                                           3226 at 4; 8275-1 at                                                                                                                    Personal Representative is listed
 54 Nancy                          Raeside Shea                  Joseph          P.                Shea                         US                9/11/01 NY           02cv06977   1463 at 22                              10, 8973             $ 2,000,000.00 $ 6,000,000.00       9680-7       3/1/23 10292 at 5          $   27,717,220.00 $ 83,151,660.00      as Nancy Shea in 1463 at 22
                                                                                                                                                                                   8715-1 at 32,
 55 Jason                          Sherman                       Toyena          C.                Skinner                      US                9/11/01 NY           02cv06977   8721                                    8245 at 4              $ 2,000,000.00 $ 6,000,000.00     7979         1/1/18 8245 at 4           $      3,471,075.00 $ 10,413,225.00
                                                                                                                                                                                                                           3226 at 8; 8275-1 at
 56 Dena                           Smagala                       Stanley         S.                Smagala           Jr.        US                9/11/01 NY           02cv06977   1463 at 63                              10, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-22      3/1/23 10292 at 5          $      4,411,875.00 $ 13,235,625.00
                                                                                                                                                                                                                           8275-1 at 10, 8973;
 57 Carmen                         Suarez                        Ramon                             Suarez                       US                9/11/01 NY           02cv06977   1463 at 63                              3226 at 8              $ 2,000,000.00 $ 6,000,000.00     8850-4       2/1/23 9159 at 3           $      1,635,247.00 $   4,905,741.00
                                                                                                                                                                                                                           3226 at 7; 8275-1 at
 58 Suzanne                        Swaine                        John            F.                Swaine                       US                9/11/01 NY           02cv06977   1463 at 45                              10, 8973               $ 2,000,000.00 $ 6,000,000.00     9980-13      7/1/24 10266 at 5          $   26,657,154.00 $ 79,971,462.00
 59 Jill                           Tarrou                        Michael         C.                Tarrou                       US                9/11/01 NY           02cv06977   1463 at 52                              3226 at 7              $ 2,000,000.00 $ 6,000,000.00     9680-23      4/1/24 10292 at 5          $    1,030,247.00 $ 3,090,741.00
                                                                                                                                                                                                                           3226 at 4; 8275-1 at
 60 Robert                         Spadafora                     James           A.                Trentini                     US                9/11/01 NY           02cv06977   1463 at 23                              11, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-24      3/1/23 10292 at 5          $      1,200,647.00 $   3,601,941.00
                                                                                                                                                                                                                           3226 at 4; 8275-1 at
 61 Robert                         Spadafora                     Mary                              Trentini                     US                9/11/01 NY           02cv06977   1463 at 23                              11, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-25      3/1/23 10292 at 5          $       829,005.00 $    2,487,015.00
                                                                                                                                                                                                                           3226 at 7; 8275-1 at
 62 Mary                           Tselepis                      William         P.                Tselepis          Jr.        US                9/11/01 NY           02cv06977   1463 at 45                              11, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-10      4/1/23 10292 at 5          $      7,994,971.00 $ 23,984,913.00
 63 Nadadur          S.            Kumar                         Pendyala                          Vamsikrishna                 US                9/11/01 NY           02cv06977   1463 at 50                              3226 at 7              $ 2,000,000.00 $ 6,000,000.00     9980-19      7/1/24 10266 at 5          $      6,096,254.00 $ 18,288,762.00
                                                                                                                                                                                                                                                                                                                                                                   Personal Representative is listed
                                                                                                                                                                                                                           3226 at 5; 8275-1 at                                                                                                                    as Anne Vandevander in 1463 at
 64 Elizabeth        Anne          Vandevander                   Jon             C.                Vandevander                  US                9/11/01 NY           02cv06977   1463 at 31                              11, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-26      3/1/23 10292 at 5          $   10,464,313.00 $ 31,392,939.00      31
                                                                                                                                                                                                                           3226 at 7; 8275-1 at
 65 Patricia                       Vilardo                       Joseph                            Vilardo                      US                9/11/01 NY           02cv06977   1463 at 45                              11, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-5       3/1/23 10292 at 5          $   10,603,217.00 $ 31,809,651.00
                                                                                                                                                                                                                           3226 at 6; 8275-1 at
 66 Paul                           Kiefer                        Brian                             Warner                       US                9/11/01 NY           02cv06977   1463 at 38                              11, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-27      3/1/23 10292 at 5          $      6,350,298.00 $ 19,050,894.00
                                                                                                                                                                                                                           3226 at 8; 8275-1 at
 67 Judith                         Weil                          Joanne          F.                Weil                         US                9/11/01 NY           02cv06977   1463 at 60      8246 at 4, 8251         11, 8973               $ 2,000,000.00 $ 6,000,000.00     9680-28      3/1/23 10292 at 6          $      2,398,784.00 $   7,196,352.00
                                                                                                                                                                                   8715-1 at 37,
 68 Laurie                         Weinberg                      Steven                            Weinberg                     US                9/11/01 NY           02cv06977   8721                                    8245 at 4              $ 2,000,000.00 $ 6,000,000.00     7979         1/1/18 8245 at 4           $      7,163,597.00 $ 21,490,791.00
 69 Helen                          Zaccoli                       Joseph                            Zaccoli                      US                9/11/01 NY           02cv06977   1463 at 61                              3226 at 8              $ 2,000,000.00 $ 6,000,000.00     9680-2       2/1/23 10292 at 6          $      4,097,292.00 $ 12,291,876.00




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